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 6                                  UNITED STATES DISTRICT COURT

 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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 9   JOHNNY PHOUTHACHACK,                            Case No. 1:20-cv-01812-BAM
10                     Plaintiff,                    ORDER REFERRING ACTION TO
                                                     VOLUNTARY DISPUTE RESOLUTION
11          v.                                       PROGRAM
12   WILMINGTON SAVINGS FUND
     SOCIETY, FSB, et al.,
13
                       Defendants.
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16          Plaintiff Johnny Phouthachack and Defendants Wilmington Savings Fund Society, FSB,

17   and Franklin Credit Management Corporation have voluntarily agreed to and asked the Court for

18   referral of this action to the Voluntary Dispute Resolution Program before beginning extensive

19   formal discovery. Local Rule 271. Accordingly, IT IS HEREBY ORDERED as follows:

20          1.     This action is referred to the Voluntary Dispute Resolution Program;

21          2.     The parties shall complete initial disclosures prior to any Voluntary Dispute

22   Resolution session and no later than May 24, 2021; and

23          3.     The parties shall notify the Court within thirty (30) days of completing the

24   Voluntary Dispute Resolution Program.
     IT IS SO ORDERED.
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26      Dated:    March 30, 2021                              /s/ Barbara   A. McAuliffe           _
                                                         UNITED STATES MAGISTRATE JUDGE
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